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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

       Chambers of                                                            101 West Lombard Street
GEORGE L. RUSSELL, III                                                       Baltimore, Maryland 21201
 United States District Judge                                                      410-962-4055

                                        December 8, 2021

MEMORANDUM TO PARTIES RE:                            Dupree v. Equidata, Inc.
                                                     Civil Action No. GLR-17-2036

Dear Counsel:

        On December 18, 2020, this Court issued a Marginal Order approving Dupree’s Status
Report. (ECF No. 32). In the Order, the Court directed Dupree to file an additional status report no
later than April 19, 2021. To date, the Court has not received the status report. Accordingly, the
Court DIRECTS Dupree to file an updated status report regarding the bankruptcy case no later than
Wednesday, December 15, 2021.

       Despite the informal nature of this memorandum, it shall constitute an Order of this Court,
and the Clerk is directed to docket it accordingly.

                                              Very truly yours,

                                                        /s/
                                              George L. Russell, III
                                              United States District Judge
